                                                                                Case 4:01-cv-01351-JST Document 1242 Filed 06/13/08 Page 1 of 2



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6                          IN THE UNITED STATES DISTRICT COURT
                                                                          7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10    MARCIANO PLATA, et al.,                          NO. C01-1351 TEH
                                                                                                                                ORDER SETTING BRIEFING
United States District Court




                                                                         11                           Plaintiffs,               SCHEDULE FOR RECEIVER’S
                                                                                                                                SUPPLEMENTAL APPLICATION
                               For the Northern District of California




                                                                         12                    v.                               NUMBER 5 FOR A WAIVER OF
                                                                         13    ARNOLD SCHWARZENEGGER,                           STATE LAW AND ORDER
                                                                               et al.,                                          SETTING STANDARD BRIEFING
                                                                         14                                                     SCHEDULE FOR FUTURE
                                                                                                      Defendants.               APPLICATIONS FOR WAIVERS
                                                                         15                                                     OF STATE LAW

                                                                         16
                                                                         17          The Court is in receipt of the Receiver’s supplemental application number 5 for an
                                                                         18 order waiving state contracting statutes, regulations, and procedures, and approving the
                                                                         19 Receiver’s substitute procedure for bidding and award of contracts. IT IS HEREBY
                                                                         20 ORDERED that the parties shall file objections or statements of non-opposition to this
                                                                         21 application on or before June 27, 2008. The Receiver may file a reply as necessary on or
                                                                         22 before July 7, 2008. The application will then be deemed submitted on the papers unless the
                                                                         23 Court orders further proceedings.
                                                                         24          In addition, IT IS FURTHER ORDERED that, unless otherwise ordered, the
                                                                         25 following schedule shall apply to all future supplemental applications for waivers of state law
                                                                         26 filed by the Receiver:
                                                                         27          1. The parties shall file objections or statements of non-opposition to the application
                                                                         28 no later than fourteen calendar days after the filing of the application.
                                                                                Case 4:01-cv-01351-JST Document 1242 Filed 06/13/08 Page 2 of 2



                                                                          1         2. If objections are filed, the Receiver shall file a reply no later than twenty-one
                                                                          2 calendar days after the filing of the application.
                                                                          3         3. The matter shall then be deemed submitted on the papers.
                                                                          4
                                                                          5 IT IS SO ORDERED.
                                                                          6
                                                                          7 Dated: 06/13/08
                                                                                                                 THELTON E. HENDERSON, JUDGE
                                                                          8                                      UNITED STATES DISTRICT COURT
                                                                          9
                                                                         10
United States District Court




                                                                         11
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28

                                                                                                                             2
